Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 1 of 18
Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 2 of 18
Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 3 of 18
Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 4 of 18
Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 5 of 18
Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 6 of 18
Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB   Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
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Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 16 of 18
Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 17 of 18
Case 2:18-bk-04969-EPB    Doc 20-2 Filed 05/30/18 Entered 05/30/18 11:30:26   Desc
                         Exhibit (B) Mortgage Page 18 of 18
